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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA


MONIFA GRANT,
individually and on behalf of all
others similarly situated,                                       CLASS ACTION

          Plaintiff,                                             JURY TRIAL DEMANDED

v.

REGAL AUTOMOTIVE GROUP, INC
D/B/A REGAL HONDA,

      Defendant.
__________________________________/

                                    CLASS ACTION COMPLAINT

          Plaintiff Monifa Grant brings this class action against Defendant Regal Automotive Group,

Inc. d/b/a Regal Honda (“Defendant”) and alleges as follows upon personal knowledge as to herself

and her own acts and experiences, and, as to all other matters, upon information and belief,

including investigation conducted by her attorneys.

                                      NATURE OF THE ACTION

          1.       This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 et seq., (“TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

          2.       Defendant owns and/or operates an automotive dealership in Lakeland, Florida.

          3.       Defendant sells new Honda automobiles along with an assortment of used cars.1

          4.       Defendant’s telemarketing consists of sending pre-recorded messages to consumers

soliciting them to purchase goods and/or services from Defendant.

          5.       Defendant caused thousands of pre-recorded messages to be sent to the cellular


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    https://regalhonda.com/

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telephones of Plaintiff and Class Members, causing them injuries, including invasion of their privacy,

aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

        6.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct.

Plaintiff also seeks statutory damages on behalf of herself and Class Members, as defined below, and

any other available legal or equitable remedies resulting from the illegal actions of Defendants.

                                    JURISDICTION AND VENUE

        7.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

which will result in at least one Class member belonging to a different state than Defendant. Plaintiff

seeks up to $1,500.00 in damages for each call in violation of the TCPA, which, when aggregated among

a proposed class numbering in the tens of thousands, or more, exceeds the $5,000,000.00 threshold for

federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

        8.      Venue is proper in the United States District Court for the Middle District of Florida

pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendants are deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

its services within this district thereby establishing sufficient contacts to subject it to personal

jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within this district and, on

information and belief, Defendant has sent the same prerecorded messages complained of by Plaintiff

to other individuals within this judicial district, such that some of Defendant’s acts have occurred within

this district, subjecting Defendant to jurisdiction here.

                                                PARTIES

        9.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

Lakeland, Florida.



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        10.    Defendant is a Florida company with its principal office located at 925 Bartow Road,

Lakeland FL 33801. Defendant directs, markets, and provides business activities throughout the State

of Florida.

                                             THE TCPA

        11.    The TCPA prohibits: (1) any person from calling a cellular telephone number; (2)

using an automatic telephone dialing system or an artificial or prerecorded message; (3) without the

recipient’s prior express consent. 47 U.S.C. § 227(b)(1)(A).

        12.    The TCPA exists to prevent communications like the ones described within this

Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

        13.    In an action under the TCPA, a plaintiff must show only that the defendant “called a

number assigned to a cellular telephone service using an automatic dialing system or prerecorded

voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

F.3d 1265 (11th Cir. 2014).

        14.    The Federal Communications Commission (“FCC”) is empowered to issue rules and

regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used.

        15.    In 2012, the FCC issued an order further restricting automated telemarketing calls,

requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules

& Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb.

15, 2012) (emphasis supplied).



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        16.     To obtain express written consent for telemarketing calls, a defendant must establish

that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

disclosure’ of the consequences of providing the requested consent….and [the plaintiff] having received

this information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

        17.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

        18.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

        19.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)); In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

WL 21517853, at *49).

        20.     The FCC has explained that calls motivated in part by the intent to sell property, goods,

or services are considered telemarketing under the TCPA.           See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or



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services during the call or in the future. Id.

          21.    In other words, offers “that are part of an overall marketing campaign to sell

property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

(2003).

          22.    If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

“for non-telemarketing and non-advertising calls”).

          23.    Further, the FCC has issued rulings and clarified that consumers are entitled to the same

consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (“The FCC has determined that a text

message falls within the meaning of ‘to make any call’ in 47 U.S.C. § 227(b)(1)(A)”).

          24.    With respect to standing, as recently held by the United States Court of Appeals for the

Ninth Circuit:

                 Unsolicited telemarketing phone calls or text messages, by their nature,
                 invade the privacy and disturb the solitude of their recipients. A plaintiff
                 alleging a violation under the TCPA “need not allege any additional
                 harm beyond the one Congress has identified.”

Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037 (9th Cir. 2017) (quoting Spokeo, Inc. v.

Robins, 136 S. Ct. 1540 (2016)).

          25.    Similarly, the United States Court of Appeals for the Second Circuit recently held that

the receipt of a telemarketing or unsolicited call “demonstrates more than a bare violation and satisfies

the concrete-injury requirement for standing.” Leyse v. Lifetime Entm't Servs., LLC, Nos. 16-1133-

cv, 16-1425-cv, 2017 U.S. App. LEXIS 2607 (2d Cir. Feb. 15, 2017) (citing In re Methyl Tertiary


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Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 105 (2d Cir. 2013) ("The injury-in-fact necessary

for standing need not be large; an identifiable trifle will suffice."); Golan v. Veritas Entm't, LLC, 788

F.3d 814, 819-21 (8th Cir. 2015) (holding that receipt of two brief unsolicited robocalls as voicemail

messages was sufficient to establish standing under TCPA); Palm Beach Golf Ctr.-Boca, Inc. v. John

G. Sarris, D.D.S., P.A., 781 F.3d 1245, 1252 (11th Cir. 2015) (holding that injury under similar TCPA

provision may be shown by one-minute occupation of fax machine)).

                                                  FACTS


          26.     Defendant called Plaintiff’s cellular telephone number ending in 6776 (“6776 Number”)

with a pre-recorded message on or about October 4, 2017.

          27.     The pre-recorded message was left as a voicemail for Plaintiff, as Plaintiff did not

answer Defendant’s call.

          28.     Plaintiff then had to stop what she was doing and listen to the pre-recorded message.

          29.     The pre-recorded message states as follows:

          Hi my name is Ken Halworth, General Manager with Regal Honda. I’m sorry I missed you and
          didn’t get a chance to speak to you personally. I’m calling with some great news. Your approved
          for a loan up to $40,000 and an interest rate as low as 1.9%. Because of your preferred credit
          status, were going to give you a free smartwatch or a free three-day two-night cruise for two
          with five-star dining included aboard a Carnival or Royal Caribbean cruise line absolutely free.
          Just for coming in this Friday or Saturday October 6th and 7th. Please feel free to call me back,
          my names Ken and make an appointment to see me. You can reach me at area code 863-588-
          4020. That number again is 863-588-4020. Thanks so much, I look forward to speaking to you,
          my names Ken and I look forward to seeing you on the showroom floor. Have a great day.

          30.     Upon information and belief, the number provided in the prerecorded message (863-

588-4020) is a number that Defendant owns and/or operates.2

          31.     Upon information and belief, the number Defendant used to call Plaintiff (863-333-

4626) is owned and or operated by or on behalf of Defendant.


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    https://www.youtube.com/watch?v=NgXLMK6t9So

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        32.      The pre-recorded message is telemarketing whose goal was to entice Plaintiff to

purchase goods and/or services from Defendant.

        33.      Plaintiff is the subscriber and sole user of the 6776 Number.

        34.      Plaintiff received the subject calls within this judicial district and, therefore, Defendant’s

violation of the TCPA occurred within this district.

        35.      Upon information and belief, Defendant caused similar calls to be sent to individuals

residing within this judicial district.

        36.      At no point in time did Plaintiff provide Defendant with her express consent to be

contacted using a pre-recorded message.

        37.      Defendant’s unsolicited call caused Plaintiff actual harm, including invasion of her

privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s calls

also inconvenienced Plaintiff and caused disruption to her daily life.

                                          CLASS ALLEGATIONS

              PROPOSED CLASS

        38.      Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

himself and all others similarly situated.

        39.      Plaintiff brings this case on behalf of the below defined Class:

                 All persons within the United States who, within the four years prior to the filing
                 of this Complaint; were sent a pre-recorded call; from Defendant or anyone on
                 Defendant’s behalf; to said person’s cellular telephone number; using the same
                 equipment, or type of equipment, used to call Plaintiff’s cellular telephone.

        40.      Defendant and their employees or agents are excluded from the Class. Plaintiff does not

know the number of members in the Class but believes the Class members number in the several

thousands, if not more.

            NUMEROSITY

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       41.      Upon information and belief, Defendant has transmitted prerecorded messages to

cellular telephone numbers belonging to thousands of consumers throughout the United States without

their prior express consent. The members of the Class, therefore, are believed to be so numerous that

joinder of all members is impracticable.

       42.      The exact number and identities of the Class members are unknown at this time and can

be ascertained only through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendants’ call records.

             COMMON QUESTIONS OF LAW AND FACT

       43.      There are numerous questions of law and fact common to the Class which predominate

over any questions affecting only individual members of the Class. Among the questions of law and

fact common to the Class are:

                    (1) Whether Defendant made non-emergency calls to Plaintiff and Class members’

                        cellular telephones using pre-recorded messages;

                    (2) Whether Defendant can meet their burden of showing that they obtained prior

                        express written consent to make such calls;

                    (3) Whether Defendant’s conduct was knowing and willful;

                    (4) Whether Defendant is liable for damages, and the amount of such damages; and

                    (5) Whether Defendant should be enjoined from such conduct in the future.

       44.      The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendants routinely calls telephone numbers assigned to cellular telephone services is

accurate, Plaintiff and the Class members will have identical claims capable of being efficiently

adjudicated and administered in this case.

             TYPICALITY



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        45.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

on the same factual and legal theories.

              PROTECTING THE INTERESTS OF THE CLASS MEMBERS

        46.     Plaintiff is a representative who will fully and adequately assert and protect the interests

of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.

              SUPERIORITY

        47.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

        48.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

one court might enjoin Defendant from performing the challenged acts, whereas another may not.

Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                             COUNT I
                            Violations of the TCPA, 47 U.S.C. § 227(b)
                              (On Behalf of Plaintiff and the Class)




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          49.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

herein.

          50.   It is a violation of the TCPA to make “any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system or prerecorded or artificial voice… to any telephone number

assigned to a … cellular telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

          51.   Defendant – or third parties directed by Defendant – used pre-recorded messages

to make non-emergency telephone calls to the cellular telephones of Plaintiff and other members

of the Class.

          52.   These calls were made without regard to whether Defendant had first obtained

express permission from the called party to make such calls. In fact, Defendant did not have prior

express consent to call the cell phones of Plaintiff and the other members of the putative Class

when its calls were made.

          53.   Defendant violated § 227(b)(1)(A)(iii) of the TCPA by using pre-recorded

messages to make non-emergency telephone calls to the cell phones of Plaintiff and the other

members of the putative Class without their prior express consent.

          54.   As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

Plaintiff and the other members of the putative Class were harmed and are each entitled to a

minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

injunction against future calls.

          WHEREFORE, Plaintiff, Monifa Grant, on behalf of herself and the other members of

the Class, prays for the following relief:




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          a.      A declaration that Defendant’s practices described herein violate the Telephone

Consumer Protection Act, 47 U.S.C. § 227;

          b.      A declaration that Defendant’s violations of the Telephone Consumer Protection

Act, 47 U.S.C. § 227, were willful and knowing;

          c.      An injunction prohibiting Defendant from transmitting pre-recorded messages to

telephone numbers assigned to cellular telephones without the prior express consent of the called

party;

          d.      An award of actual, statutory damages, and/or trebled statutory damages; and

          e.      Such further and other relief the Court deems reasonable and just.

                                            JURY DEMAND

           Plaintiff and Class Members hereby demand a trial by jury.

                             DOCUMENT PRESERVATION DEMAND

          Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

databases or other itemization of telephone numbers associated with Defendant and the calls as alleged

herein.




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Date: February 11, 2019

Respectfully submitted,

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